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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION

                  Daneta Wollmann United States Magistrate Judge Presiding

 Courtroom Deputy - SRC                                    Court Reporter – FTR
 Courtroom - RC #2                                         Date: October 22, 2021
 U.S. Probation Officer – Not Present

                                          5:20-cr-50122-02

 United States of America                                            Ben Patterson

                   Plaintiff,

                      vs.

 Kimberlee Pitawanakwat                                            Jonathan McCoy

                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 11:00 a.m.
 TIME:
11:04 a.m.    Enter motion hearing before the Honorable Daneta Wollmann.

              The Court notes the appearance of counsel.

              Mr. Patterson moves to amend the order setting conditions of release.
              Mr. McCoy objects.

              The Court grants the motion and enters an amended order setting conditions of release.

              Mr. McCoy makes a motion for transcript of the proceedings.
              The Court grants the motion.

11:28 a.m.    Court is adjourned.
